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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------- x
                                        :
GSCP VI EDGEMARC HOLDINGS, L.L.C., GSCP
                                        :
VI PARALLEL EDGEMARC HOLDINGS, L.L.C.,
                                        :
WSEP AND BRIDGE 2012 EDGEMARC
                                        :
HOLDINGS, L.L.C., and EM HOLDCO LLC,
                                        :
                                        :                   Adv. Proc. No. 19-01293-JLG
                   Plaintiffs,
                                        :
                                        :                   STIPULATION AND ORDER OF
 vs.
                                        :                   TRANSFER
ETC NORTHEAST PIPELINE, LLC,            :
                                        :
                   Defendant.           :
                                        :
------------------------------------- x


       WHEREAS, on May 14, 2019, Plaintiffs GSCP VI EdgeMarc Holdings, L.L.C., GSCP

VI Parallel EdgeMarc Holdings, L.L.C., WSEP and Bridge 2012 EdgeMarc Holdings, L.L.C.,

and EM Holdco LLC filed a complaint against Defendant ETC Northeast Pipeline, LLC in the

Supreme Court of the State of New York, County of New York (the “New York State Court”),

Index No. 652906/2019 (the “Action”). ECF No. 1 Ex. A.

       WHEREAS, EdgeMarc Energy Holdings, LLC and eight affiliated debtors (collectively

“EdgeMarc”) subsequently filed voluntary petitions for relief under Chapter 11 of the United

States Bankruptcy Code in the United States Bankruptcy Court for the District of Delaware (the

“Delaware Bankruptcy Court”), consolidated as Case No. 19-11104-JTD.

       WHEREAS, on June 4, 2019, Defendant filed a Notice of Removal removing the Action

to the United States District Court for the Southern District of New York, which in turn referred

the Action to the United States Bankruptcy Court for the Southern District of New York.
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       WHEREAS, on June 11, 2019, Defendant filed a motion to transfer the Action to the

Delaware Bankruptcy Court (the “Motion to Transfer), as well as a motion to dismiss the Action

(the “Motion to Dismiss”). ECF Nos. 5, 9.

       WHEREAS, in the Motion to Transfer and the Motion to Dismiss, Defendant asserts,

inter alia, that the claims in the Action “are property of the EdgeMarc estate.” ECF No. 6 at 6;

see ECF No. 10 at 14.

       WHEREAS, Plaintiffs contend that the claims in the Action are direct claims and not

property of the EdgeMarc estate, have agreed that the Delaware Bankruptcy Court should resolve

Defendant’s assertion that the claims in the Action are property of the EdgeMarc estate, and

otherwise reserve all rights, arguments and defenses;

       IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned

attorneys, as follows:

       1. The parties consent to transfer of the Action from this Court to the Delaware

           Bankruptcy Court under 28 U.S.C. §1404(a).

       2. All parties otherwise fully reserve and do not waive all rights, defenses and

           arguments, including Plaintiffs’ right to seek remand or abstention in favor of the

           New York State Court and all parties’ rights, defenses and arguments in connection

           with the Motion to Dismiss, discovery and all other matters.
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       IT IS HEREBY ORDERED THAT for convenience and in the interests of justice, upon

the consent of all parties, the Action is transferred under 28 U.S.C. § 1404(a) to the Delaware

Bankruptcy Court. Defendant’s motion to transfer at ECF No. 5 is moot.


 Dated: New York, New York
        June 26, 2019

 WACHTELL, LIPTON, ROSEN & KATZ                 PACHULSKI STANG ZIEHL & JONES LLP



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                                                     Attorneys for Defendant ETC Northeast
                                                     Pipeline, LLC

Dated: July 1, 2019


SO ORDERED:      /s/ James L. Garrity, Jr.
                 United States Bankruptcy Judge
